                 Case
                  Case19-40131-reg
                       19-40131-reg Doc
                                     Doc13-2
                                         23 Filed
                                             Filed06/12/19
                                                   05/21/19 Page
                                                             Page11ofof22




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION AT LAFAYETTE

                                                :
 In re:                                         :
                                                :
     Collin Bradley Clark                       :       Case No.: 19-40131
     Lori Ann Clark                             :       Chapter 7
                                                :       Chief Judge Robert E. Grant
           Debtor.                              :       *********************
                                                :


 ORDER ON CREDITOR'S MOTION FOR RELIEF FROM AUTOMATIC STAY AND
 ABANDONMENT OF PROPERTY BECAUSE STATEMENT OF INTENT PROPOSES
 SURRENDER OF PROPERTY AND NOTICE OF OBJECTION DEADLINE WITH 30-
                  DAY WAIVER (FIRST MORTGAGE)

          For good cause shown, Nationstar Mortgage LLC d/b/a Mr. Cooper, its successor and

assigns (hereinafter "Creditor")'s Motion for Relief from Automatic Stay and Abandonment of

Property is hereby granted.

          Creditor filed a motion that requested the Trustee be ordered to abandon his interest in

the real property located at 3290 N Jersey Dr, Delphi, IN 46923.

          The objection deadline has passed, and the Trustee has not filed a written objection to the

taking of the proposed action.

          Therefore, it is ORDERED that the Trustee abandon his interest in the real property.

          Creditor's motion also requested relief pursuant to 11 U.S.C. § 362 and § 554 so that it

could accelerate the debt owed by Debtor herein and foreclose its mortgage on real property

located at 3290 N Jersey Dr, Delphi, IN 46923 (hereinafter "Real Estate"), and otherwise pursue

Creditor's contractual and state law remedies.

          The objection deadline has passed, and the Debtor has not timely filed a written objection

to the taking of the proposed action.


                                                    1
19-013979_EJS1
               Case
                Case19-40131-reg
                     19-40131-reg Doc
                                   Doc13-2
                                       23 Filed
                                           Filed06/12/19
                                                 05/21/19 Page
                                                           Page22ofof22




       Therefore, pursuant to 11 U.S.C. § 362 and § 554, it is ORDERED that the stay that

issued in this action is terminated with respect to Creditor, its successors and assigns, and that the

fourteen (14) day stay of the order imposed by Bankruptcy Rule 4001(a)(3) is waived.

       Creditor is hereby permitted to take any and all actions necessary to accelerate the

balance due on the obligation, to foreclose its mortgage, to sell the collateral in accordance with

state law, to apply the net proceeds to this obligation, and to otherwise exercise its contractual

and state law rights as to the Real Property.

       SO ORDERED.

       June 12, 2019
DATED: _____________________, 2019

                                                    /s/ Robert E. Grant
                                                   ROBERT E. GRANT, CHIEF JUDGE
                                                   UNITED STATES BANKRUPTCY COURT
                                                   Northern District of Indiana




                                                  2
19-013979_EJS1
